12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 1 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 2 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 3 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 4 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 5 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 6 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 7 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 8 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 15 of 15 Pg 9 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 15 of 15 Pg 10 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 15 of 15 Pg 11 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 15 of 15 Pg 12 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 15 of 15 Pg 13 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 15 of 15 Pg 14 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 15 of 15 Pg 15 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 15 of 15 Pg 16 of 17
12-12020-mg   Doc 2324-16 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 15 of 15 Pg 17 of 17
